  Case 17-30112                Doc 382          Filed 08/17/17 Entered 08/17/17 13:09:48                                   Desc Main
                                                 Document     Page 1 of 9


B 2100A (Form 2100A) (12/15)



                         UNITED STATES BANKRUPTCY COURT
                                                  DistrictDistrict
                                            __________     of NorthOfDakota
                                                                      __________

In re ________________________________,
      Vanity Shop of Grand Forks, Inc.                                                            Case No. ________________
                                                                                                            17-30112




                    TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.



  B.E. Capital Management Fund LP
______________________________________                                       Joe Benbasset Inc.
                                                                            ____________________________________
          Name of Transferee                                                           Name of Transferor

Name and Address where notices to transferee                                Court Claim # (if known): priority portion of scheduled claim

                                                                                                            ---------
should be sent:                                                             Amount of Claim:        $8,385.00
  228 Park Ave S #63787                                                     Date Claim Filed:      04/11/2017
  New York, New York 10003-1502

         646-678-2922
Phone: ______________________________                                       Phone:
Last Four Digits of Acct #: ______________                                  Last Four Digits of Acct. #: __________

Name and Address where transferee payments
should be sent (if different from above):



Phone:
Last Four Digits of Acct #:



I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

By:__________________________________                                       Date:____________________________
                                                                                  08/17/2017
       Transferee/Transferee’s Agent


Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
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                             PARTIAL TRANSFER OF CLAIM
                      (Federal Rule of Bankruptcy Procedure 3001(e)(l))

TO THE DEBTOR AND THE BANKRUPTCY COURT:

         For value received, the sufficiency of which is hereby acknowledged, Joe Ben basset Inc.
("Seller") hereby unconditionall y and irrev ocab ly se lls, transfers, and assigns to B.E. Capital
Management Fund LP ("Purchaser") all of Seller's right, title, and inter est in and to priority claim
und er 11 U.S.C. § 503(b)(9) (the "P riority Claim") related to Invoice Numbers 61119 and 61120
included in the scheduled claim against Vanity Shop of Grand Forks, Inc. (the "Debtor") in In
re Vanity Shop of Grand Forks, Inc. (Case No. 17-30112) in the amount of$8 ,385.00 pending in
the United States Bankrup tcy Court for the District of North Dakota (the "Ban kruptc y Cou rt").

        Seller hereby waives any objection to the transfer of the Claim on the book s and records
of the Debtor and the Bankruptcy Cou rt, and hereby waives any notice or right to a hearing as may
be imposed by Federal Rule of Bankruptcy Procedure 3001, the Bankruptcy Code, or other
applicable Jaw. Seller acknowledges, and hereby stipulates, that an order of the Bankruptcy Court
may be enter ed without further notice to Seller transferr ing the Claim to Purcha ser and recognizing
Purchaser as the so le owner and holder of such Claim.

        IN WITNESS WHEREOF, this Ev idence of Tran sfer of Claim is executed on April 7,
2017.

                                                   Joe Ben basset Inc.
                                                          CoA.e~£ M asser
                                                    By:   ~orev ;J;; ba•'-N tAµ 7 20171


                                                           Corey ___
                                                   Name: ___     Benbasset
                                                                        _ __              _

                                                            EVP Joe Benbasset
                                                   Title: ____      _____     Inc _ _
           Case 17-30112                                                      Doc 382     Filed 08/17/17 Entered 08/17/17 13:09:48                     Desc Main
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                                                                                          Created :         04/07/2017

                                                                                          By:               Thomas Braziel (thomas@becapitalmanagement.com)
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 "Joe Benasset_Contract_0407 17" History
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      (thomas@becapitalmanagement.com)
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              Case 17-30112
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                                                                   Document
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                                                                                 Page 4 of
 Debtor       Vanity Shop of Grand Forks, Inc.                                                        Case number (if known)            17-30112
              Name

 3.298    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $89,992.20
          JIANGSU SAINTY GLORIOUS                                             Contingent
          5TH FLOOR, BUILDING #A                                              Unliquidated
          #21 SOFTWEAR AVE, YUHUA DISTRICT                                    Disputed
          NANJING, CHINA
                                                                             Basis for the claim:    MERCHANDISE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.299    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          JOC INTERNATIONAL LTD
          ROOM 209                                                            Contingent
          8 SOUTH LIYUAN ROAD                                                 Unliquidated
          JANGNING DISTRICT                                                   Disputed
          NANJING, CHINA
                                                                             Basis for the claim:    MERCHANDISE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.300    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $31,441.97
          JODI KRISTOPHER, LLC                                                Contingent
          5910 CORVETTE STREET                                                Unliquidated
          COMMERCE, CA 90040                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MERCHANDISE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.301    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $24,204.97
          JOE BENBASSET                                                       Contingent
          213 W. 35TH ST.                                                     Unliquidated
          NEW YORK, NY 10001                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    MERCHANDISE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.302    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $44.00
          JOHN'S GREAT AMERICAN                                               Contingent
          WINDOW CLEANING CO.                                                 Unliquidated
          PO BOX 155                                                          Disputed
          WHITELAND, IN 46184
                                                                             Basis for the claim:    WINDOW WASHING
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.303    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $211.00
          JOHN'S HEATING & A/C                                                Contingent
          1423 COLLEGE WAY                                                    Unliquidated
          FERGUS FALLS, MN 56537                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    REPAIRS & MTCE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.304    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $589.51
          JOHNSON CITY POWER BOARD                                            Contingent
          PO BOX 2058                                                         Unliquidated
          JOHNSON CITY, TN 37605                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    UTILITIES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 120 of 173
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                                                                         Document     Page 5 of 9                                                 INVOICE
213 W 35TH ST
                                                                                                                                        DATE                 NUMBER
NEW YORK, NY 10001 UNITED STATES
                                                                                                                                  02/07/17                  61119
SHIP TO                                                   BILL TO                                                 REMIT TO
Vanity Shop of Grand Fork                                 Vanity Shop of Grand Fork                               Joe Benbasset Inc.
VANITY SHOP OF GRAND FORKS                                Vanity Shop Accounts Payable                            213 W 35TH ST
1001 25TH STREET N.                                       P.O. BOx 547                                            NEW YORK, NY 10001 US
FARGO, ND 58102 US                                        FARGO, ND 58107 US                                      (212) 594-8440



STORE #   DEPT #   CUST. P.O. #      ACCT. NO.      REG. NO.    ORDER NO.     PICK NO.     SLSP TERMS:                SHIPPED VIA                        F.O.B.
DC 1      11       241968            VANITY        4704         52117        62666         KB    2% Net 60            FEDEX FREIGHT PRIORITY             ADS


Style: W832054                                   Color:    BK/WH                                Label:   VANITY                         Customer SKU
       zippered ankle pant                                 Black/White                          Dm/Pk:
                                      XXS     XS       S        M        L   XL      XXL                           Tot Units            Price               Total Amount
                    Totals by Size                    16       32       32   16                                           96              10.25                    984.00


Style: 9202054                                   Color:    BLACK                                Label:   VANITY                         Customer SKU
       zippered ankle pant                                 Black                                Dm/Pk:
                                      XXS     XS       S        M        L   XL      XXL                           Tot Units            Price               Total Amount
                    Totals by Size                    18       36       36   18                                          108               9.50                  1,026.00




                                                                                                                     Page            Units          Merchandise
                                                                                                                     Sub Totals         204                       2,010.00


                                                                                                                       Total Units      Sub Total                 2,010.00

                                                                                                                               204      Disc. Amount
                                                                                                                                        Freight/Ins.
                                                                             03/31/17 03:14:34 PM                        4 204.000                                2,010.00
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213 W 35TH ST
                                                                                                                                        DATE                 NUMBER
NEW YORK, NY 10001 UNITED STATES
                                                                                                                                  02/07/17                  61120
SHIP TO                                                   BILL TO                                                 REMIT TO
Vanity Shop of Grand Fork                                 Vanity Shop of Grand Fork                               Joe Benbasset Inc.
VANITY SHOP OF GRAND FORKS                                Vanity Shop Accounts Payable                            213 W 35TH ST
1001 25TH STREET N.                                       P.O. BOx 547                                            NEW YORK, NY 10001 US
FARGO, ND 58102 US                                        FARGO, ND 58107 US                                      (212) 594-8440



STORE #   DEPT #   CUST. P.O. #      ACCT. NO.      REG. NO.    ORDER NO.     PICK NO.     SLSP TERMS:                SHIPPED VIA                        F.O.B.
DC 1      10       241991            VANITY        4846         56117        62532         KB    2% Net 60            FEDEX FREIGHT PRIORITY             ADS


Style: 9206854                                   Color:    CHAR                                 Label:   VANITY                         Customer SKU
       pull on 3 button pant                               Charcoal                             Dm/Pk:
                                      XXS     XS       S        M        L   XL      XXL                           Tot Units            Price               Total Amount
                    Totals by Size                    46       92       92   46                                          276               8.50                  2,346.00


Style: 9206854                                   Color:    BLACK                                Label:   VANITY                         Customer SKU
       pull on 3 button pant                               Black                                Dm/Pk:
                                      XXS     XS       S        M       L    XL      XXL                           Tot Units            Price               Total Amount
                    Totals by Size                    79      158     158    79                                          474               8.50                  4,029.00




                                                                                                                     Page            Units          Merchandise
                                                                                                                     Sub Totals         750                       6,375.00


                                                                                                                       Total Units      Sub Total                 6,375.00

                                                                                                                               750      Disc. Amount
                                                                                                                                        Freight/Ins.
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 393323806-1
 Ship date:                                                                                     Actual delivery:
 Tue 2/07/2017                                                                                  Fri 2/10/2017 9:59 am

 MEDLEY, FL US                                                Delivered                         FARGO, ND US
 Origin Terminal                                          Signed for by: B VALDEZ               Destination Location
 MEDLEY, FL                                                                                     WEST FARGO, ND




  Travel History
    Date/Time            Activity                                                                                  Location

    -    2/10/2017 - Friday
  9:59 am                Delivered                                                                                 FARGO, ND

  8:47 am                Out for delivery                                                                          WEST FARGO, ND
                         Manifest Number 487000072563
  8:39 am                At local facility                                                                         WEST FARGO, ND
                         Manifest Number 487000072563
  7:25 am                At local facility                                                                         WEST FARGO, ND

  3:33 am                In transit                                                                                ST PAUL, MN


    -    2/09/2017 - Thursday
  8:15 pm                In transit                                                                                MAUSTON, WI

  8:27 am                In transit                                                                                EVANSVILLE, IN

  3:17 am                In transit                                                                                NASHVILLE, TN


    -    2/08/2017 - Wednesday
  9:46 am                In transit                                                                                VALDOSTA, GA

  3:47 am                In transit                                                                                ORLANDO, FL


    -    2/07/2017 - Tuesday
  8:59 pm                In transit                                                                                MEDLEY, FL

  8:31 pm                Shipment exception                                                                        MEDLEY, FL
                         Shipment weight corrected
  4:25 pm                Picked up                                                                                 MEDLEY, FL




  Shipment Facts
  Tracking number             393323806-1                              Service                  FedEx Freight Priority
  Total pieces                17                                       Total shipment weight 745 lbs / 337.93 kgs
  Terms                       Third Party                              Purchase order
                                                                                                241968, 241991, 241968241991
                                                                       number
  Bill of lading number       FAR70104287
                                                                       Packaging                Skid
  Standard
                              2/10/2017
  transit




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                    Case 17-30112
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